        Case 1:22-cv-00650-MC         Document 1         Filed 05/04/22   Page 1 of 21




Darrel R. Jarvis (OSB No. 955013)
djarvis@medfordlaw.net
JARVIS, DREYER, GLATTE,
LARSEN & BUNICK, LLP
823 Alder Creek Drive
Medford, Oregon 97504
Telephone: (541) 772-1977
Facsimile: (541) 772-3443

Timothy D. Nichols (pro hac vice forthcoming)
tnichols@wnlaw.com
Brian N. Platt (pro hac vice forthcoming)
bplatt@wnlaw.com
WORKMAN NYDEGGER
60 East South Temple Suite 1000
Salt Lake City, UT 84111
Telephone: (801) 533-9800
Facsimile: (801) 328-1707

Attorneys for Darex, LLC




                           UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON

                                    MEDFORD DIVISION


 DAREX, LLC, dba WORK SHARP,                        Case No.:

                             Plaintiff,

 v.                                                 COMPLAINT FOR COPYRIGHT
                                                    INFRINGEMENT

 TOOL ON STORE,                                     DEMAND FOR JURY TRIAL

                         Defendant.
_____________________________________




COMPLAINT                                       1
         Case 1:22-cv-00650-MC          Document 1       Filed 05/04/22     Page 2 of 21




       Plaintiff Darex, LLC, dba Work Sharp (“Work Sharp” or “Darex”) complains and alleges

as follows against Defendant Tool On Store (“TOS” or “Defendant”).

                                        INTRODUCTION

       1.       This is an action for copyright infringement in violation of 17 U.S.C. § 106 et seq.

       2.       Work Sharp owns exclusive rights in United States Copyright Registration

Nos. VA0002223798, VA0002217344, VA0002217308, and VA0002246408 (the “Work Sharp

Copyrights”).

       3.       Defendant has made and used unauthorized reproductions of Work Sharp’s original

works which are the subject of the Work Sharp Copyrights.

       4.       Work Sharp seeks, among other relief, an injunction preventing Defendant from

further infringing the Work Sharp Copyrights, and damages or disgorgement of Defendant’s

profits from its infringement.

                                         THE PARTIES

       5.       Darex, LLC, dba Work Sharp is a limited liability company organized and existing

under the laws of the State of Oregon with a principal place of business at 210 East Hersey Street,

Ashland, OR 97520.

       6.       Defendant Tool On Store (“TOS”) is a company existing under the laws of

Indonesia with a principal place of business at JI, KH Zainul Arifin, Ruko Ketapang Jaya Jakarta

Pusat 10130 Jakarta, Ruko Ketapand Jaya, Indonesia, and doing business through its website at

the URL www.tool-on-store.com.

                                 JURISDICTION AND VENUE

       7.       This Court has subject matter jurisdiction under 17 U.S.C. § 411(a) (action arising

under the Copyright Act); 28 U.S.C. § 1331 (federal question); and 28 U.S.C. § 1367



COMPLAINT                                        2
         Case 1:22-cv-00650-MC           Document 1        Filed 05/04/22      Page 3 of 21




(supplemental jurisdiction).

       8.      This Court has personal jurisdiction over Defendant because Defendant has

committed and continues to commit acts of copyright infringement in violation of 17 U.S.C. § 106

et seq., within this district and has expressly targeted its activities toward this district. Defendant

has expressly targeted this district with its infringing activities, places infringing products into the

stream of commerce with the knowledge or understanding that such products are sold in the State

of Oregon and in this district and has shipped products into this district. In addition, the acts of

Defendant cause substantial injury to Work Sharp in this district. On information and belief,

Defendant derives substantial revenue from its sale of products into this district, expects its actions

to have consequences within this district, and derives substantial revenue from interstate commerce

expressly targeted at this district. Venue is proper in this district under 28 U.S.C. § 1391(c)(3)

because Defendant is a foreign person or corporation subject to personal jurisdiction in this district.

                                   GENERAL ALLEGATIONS

       9.      Work Sharp is a fourth-generation family-owned company in Ashland, Oregon.

For over 40 years, Darex or Work Sharp has been creating industry-leading sharpening tools here

in the USA under the brands DRILL DOCTOR and WORK SHARP.

       10.     Work Sharp began in 1973 in Beecher, Illinois. In 1978, Work Sharp relocated to

Ashland, Oregon, where it continues to reside. In 2012, Matthew Bernard became the fourth-

generation family owner of the company.

       11.     Work Sharp exists because of a unique passion for creating exceptional-quality,

easy-to-use sharpening tools, to the surprise and delight the customers who buy and use its

products. Its ingenious products are designed to keep tools and knives safe and sharp.

       12.     Work Sharp products include professional-quality drill bit sharpeners sold under



COMPLAINT                                          3
         Case 1:22-cv-00650-MC          Document 1       Filed 05/04/22    Page 4 of 21




the Drill Doctor® brand, and culinary knife sharpeners, tool and knife sharpeners and other

products sold under the Work Sharp® brand.

       13.     Work Sharp strives to create a positive experience for its customers by selling its

products only through authorized retailers that agree to sell its products under appropriate

conditions.

       14.     Unfortunately, unscrupulous companies such as Defendant—who are not an

authorized retailer for Drill Doctor® or Work Sharp® products—seek to mislead consumers and

obtain and sell its products at a steep discount and without warranties.

       15.     Defendant is not authorized to sell Drill Doctor® or Work Sharp® products or to use

Work Sharp’s copyrighted images in connection with its unauthorized listings and has been asked

by Work Sharp to stop selling unauthorized Work Sharp products. Nevertheless, Defendant lists

numerous Drill Doctor® and Work Sharp® products and intentionally misuses Work Sharp’s

copyrighted materials without permission.

       16.     Work Sharp has protected numerous photographs of its products with the U.S.

Copyright Office. On September 28, 2020, Darex, LLC (dba Work Sharp) obtained U.S. copyright

registration (Registration Number VA0002217344 (“’344 Copyright”)) to protect certain

photographs, including the photograph depicted below:




COMPLAINT                                        4
        Case 1:22-cv-00650-MC        Document 1         Filed 05/04/22   Page 5 of 21




       17.    On September 28, 2020, Darex, LLC (dba Work Sharp) obtained U.S. copyright

registration (Registration Number VA0002217308 (“’308 Copyright”)) to protect certain

photographs, including the photograph depicted below:




       18.    On November 19, 2020, Darex, LLC (dba Work Sharp) obtained U.S. copyright

registration (Registration Number VA0002223798 (“’798 Copyright”)) to protect certain

photographs, including the photograph depicted below:




       19.    On February 22, 2021, Darex, LLC (dba Work Sharp) obtained U.S. copyright

registration (Registration Number VA0002246408 (“’408 Copyright”)) to protect certain

photographs, including the photograph depicted below:




COMPLAINT                                     5
         Case 1:22-cv-00650-MC        Document 1      Filed 05/04/22    Page 6 of 21




       20.    Although Defendant is not authorized to use Work Sharp’s copyrighted images,

Defendant misappropriates the copyrighted images above to offer and sell unauthorized products,

as shown below:




COMPLAINT                                     6
     Case 1:22-cv-00650-MC   Document 1      Filed 05/04/22   Page 7 of 21




                             ’344 Copyright




                               (Exhibit A)

                       Tool-On-Store Infringement




                               (Exhibit B)




COMPLAINT                          7
     Case 1:22-cv-00650-MC   Document 1       Filed 05/04/22   Page 8 of 21




                              ’308 Copyright




                                (Exhibit C)

                       Tool-On-Store Infringement




                                (Exhibit D)




COMPLAINT                           8
     Case 1:22-cv-00650-MC   Document 1       Filed 05/04/22   Page 9 of 21




                              ’798 Copyright




                                (Exhibit E)

                       Tool-On-Store Infringement




                                (Exhibit F)


COMPLAINT                           9
     Case 1:22-cv-00650-MC   Document 1       Filed 05/04/22   Page 10 of 21




                              ’408 Copyright




                                (Exhibit G)

                        Tool-On-Store Infringement




                                (Exhibit H)




COMPLAINT                           10
        Case 1:22-cv-00650-MC           Document 1         Filed 05/04/22   Page 11 of 21




       21.     Defendant also seeks to mislead customers by advertising to be authorized by or

affiliated with the brands it sells, as illustrated by the example below:




                                             (Exhibit I)

       22.     In addition, TOS seeks to mislead customers by mimicking a specific Work Sharp

authorized seller, Northern Tool + Equipment.

       23.     Depicted below is an authentic product listing for the Work Sharp Knife and Tool

Sharpener Ken Onion Edition on www.northerntool.com, operated by Northern Tool + Equipment:




COMPLAINT                                        11
        Case 1:22-cv-00650-MC        Document 1        Filed 05/04/22   Page 12 of 21




                                         (Exhibit J)

       24.    Defendant copied this listing nearly verbatim and uses the same color combination

of yellow and black, as shown in the exemplary screenshot below:




COMPLAINT                                    12
        Case 1:22-cv-00650-MC        Document 1        Filed 05/04/22   Page 13 of 21




                                         (Exhibit K)

       25.    Defendant has successfully deceived numerous U.S. customers regarding its

legitimacy and affiliation with famous brands such as Work Sharp, including Randy Loftis and

others who ordered products from Defendant that were never delivered:




COMPLAINT                                    13
         Case 1:22-cv-00650-MC         Document 1         Filed 05/04/22   Page 14 of 21




                                            (Exhibit L)

        26.     Defendant operates its fraudulent scheme from Indonesia and has gone to extreme

length to conceal its identity.

        27.     The Defendant advertises shipping times or rates for customers in the United States.

(Exhibit L.)

        28.     The Defendant offers to sell and ship their products to Oregon. The checkout page

on Defendant’s website includes a dropdown menu listing Oregon as a state to which shipment

can be made. (Exhibit L.)



COMPLAINT                                        14
         Case 1:22-cv-00650-MC              Document 1   Filed 05/04/22     Page 15 of 21




        29.     The Defendant accepts payments in the United States through PayPal, a U.S.-based

payment processor subject to orders of this Court. (Exhibit M).

                                FIRST CAUSE OF ACTION
                Copyright Infringement of U.S. Copyright No. VA0002217344
                                   17 U.S.C. § 106 et seq.

        30.     Work Sharp incorporates and realleges each and every allegation in the preceding

paragraphs, as if fully set forth herein.

        31.     On September 28, 2020, Work Sharp obtained U.S. Copyright Registration

No. VA0002217344 (the “’344 Copyright”) to protect numerous product photographs, which is

attached as Exhibit A.

        32.     Work Sharp is the owner of the ’344 Copyright.

        33.     Defendant has made and used unauthorized reproduction of Work Sharp’s original

image(s), which are the subject of the ’344 Copyright.

        34.     Defendant has produced, reproduced, and/or prepared reproductions of Work

Sharp’s protected works without Work Sharp’s consent. Defendant’s acts violate Work Sharp’s

exclusive rights under the Copyright Act, 17 U.S.C. §§ 106 and 501, including its exclusive rights

to produce, reproduce, and distribute copies of its work, to create derivative works, and to publicly

display its work.

        35.     Defendant’s infringement has been undertaken willfully with the intent to

financially gain from Work Sharp’s copyrighted work. Defendant has willfully infringed Work

Sharp’s copyrighted works.

        36.     Because of Defendant’s infringing acts, Work Sharp is entitled to its actual and/or

statutory damages and disgorgement of Defendant’s profits attributable to the infringement in an

amount to be proved at trial, together with all other relief allowed under the Copyright Act.



COMPLAINT                                         15
         Case 1:22-cv-00650-MC              Document 1   Filed 05/04/22     Page 16 of 21




        37.     Because of Defendant’s willful infringement, Work Sharp is entitled to increased

damages pursuant to 17 U.S.C. § 504(c)(2).

        38.     Defendant’s infringement has caused and continues to cause irreparable harm to

Work Sharp, for which it has no adequate remedy at law. Unless this Court restrains Defendant

from infringing Work Sharp’s protected work, the harm will continue to occur in the future.

Accordingly, Work Sharp is entitled to a preliminary and permanent injunction.

                              SECOND CAUSE OF ACTION
                Copyright Infringement of U.S. Copyright No. VA0002217308
                                   17 U.S.C. § 106 et seq.

        39.     Work Sharp incorporates and realleges each and every allegation in the preceding

paragraphs, as if fully set forth herein.

        40.     On September 28, 2020, Work Sharp obtained U.S. Copyright Registration

No. VA0002217308 (the “’308 Copyright”) to protect numerous product photographs, which is

attached as Exhibit C.

        41.     Work Sharp is the owner of the ’308 Copyright.

        42.     Defendant has made and used unauthorized reproduction of Work Sharp’s original

image(s), which are the subject of the ’308 Copyright.

        43.     Defendant has produced, reproduced, and/or prepared reproductions of Work

Sharp’s protected works without Work Sharp’s consent. Defendant’s acts violate Work Sharp’s

exclusive rights under the Copyright Act, 17 U.S.C. §§ 106 and 501, including its exclusive rights

to produce, reproduce, and distribute copies of its work, to create derivative works, and to publicly

display its work.

        44.     Defendant’s infringement has been undertaken willfully with the intent to

financially gain from Work Sharp’s copyrighted work. Defendant has willfully infringed Work



COMPLAINT                                         16
         Case 1:22-cv-00650-MC              Document 1   Filed 05/04/22   Page 17 of 21




Sharp’s copyrighted works.

        45.     Because of Defendant’s infringing acts, Work Sharp is entitled to its actual and/or

statutory damages and disgorgement of Defendant’s profits attributable to the infringement in an

amount to be proved at trial, together with all other relief allowed under the Copyright Act.

        46.     Because of Defendant’s willful infringement, Work Sharp is entitled to increased

damages pursuant to 17 U.S.C. § 504(c)(2).

        47.     Defendant’s infringement has caused and continues to cause irreparable harm to

Work Sharp, for which it has no adequate remedy at law. Unless this Court restrains Defendant

from infringing Work Sharp’s protected work, the harm will continue to occur in the future.

Accordingly, Work Sharp is entitled to a preliminary and permanent injunction.

                                THIRD CAUSE OF ACTION
                 Copyright Infringement of U.S. Copyright No. VA000223798
                                   17 U.S.C. § 106 et seq.

        48.     Work Sharp incorporates and realleges each and every allegation in the preceding

paragraphs, as if fully set forth herein.

        49.     On September 28, 2020, Work Sharp obtained U.S. Copyright Registration

No. VA000223798 (the “’798 Copyright”) to protect numerous product photographs, which is

attached as Exhibit E.

        50.     Work Sharp is the owner of the ’798 Copyright.

        51.     Defendant has made and used unauthorized reproduction of Work Sharp’s original

image(s), which are the subject of the ’798 Copyright.

        52.     Defendant has produced, reproduced, and/or prepared reproductions of Work

Sharp’s protected works without Work Sharp’s consent. Defendant’s acts violate Work Sharp’s

exclusive rights under the Copyright Act, 17 U.S.C. §§ 106 and 501, including its exclusive rights



COMPLAINT                                         17
         Case 1:22-cv-00650-MC              Document 1   Filed 05/04/22     Page 18 of 21




to produce, reproduce, and distribute copies of its work, to create derivative works, and to publicly

display its work.

        53.     Defendant’s infringement has been undertaken willfully with the intent to

financially gain from Work Sharp’s copyrighted work. Defendant has willfully infringed Work

Sharp’s copyrighted works.

        54.     Because of Defendant’s infringing acts, Work Sharp is entitled to its actual and/or

statutory damages and disgorgement of Defendant’s profits attributable to the infringement in an

amount to be proved at trial, together with all other relief allowed under the Copyright Act.

        55.     Because of Defendant’s willful infringement, Work Sharp is entitled to increased

damages pursuant to 17 U.S.C. § 504(c)(2).

        56.     Defendant’s infringement has caused and continues to cause irreparable harm to

Work Sharp, for which it has no adequate remedy at law. Unless this Court restrains Defendant

from infringing Work Sharp’s protected work, the harm will continue to occur in the future.

Accordingly, Work Sharp is entitled to a preliminary and permanent injunction.

                              FOURTH CAUSE OF ACTION
                Copyright Infringement of U.S. Copyright No. VA0002246408
                                   17 U.S.C. § 106 et seq.

        57.     Work Sharp incorporates and realleges each and every allegation in the preceding

paragraphs, as if fully set forth herein.

        58.     On February 22, 2021, Work Sharp obtained U.S. Copyright Registration

No. VA0002246408 (the “’408 Copyright”) to protect numerous product photographs, which is

attached as Exhibit G.

        59.     Work Sharp is the owner of the ’408 Copyright.

        60.     Defendant has made and used unauthorized reproduction of Work Sharp’s original



COMPLAINT                                         18
        Case 1:22-cv-00650-MC          Document 1        Filed 05/04/22     Page 19 of 21




image(s), which are the subject of the ’408 Copyright.

       61.     Defendant has produced, reproduced, and/or prepared reproductions of Work

Sharp’s protected works without Work Sharp’s consent. Defendant’s acts violate Work Sharp’s

exclusive rights under the Copyright Act, 17 U.S.C. §§ 106 and 501, including its exclusive rights

to produce, reproduce, and distribute copies of its work, to create derivative works, and to publicly

display its work.

       62.     Defendant’s infringement has been undertaken willfully with the intent to

financially gain from Work Sharp’s copyrighted work. Defendant has willfully infringed Work

Sharp’s copyrighted works.

       63.     Because of Defendant’s infringing acts, Work Sharp is entitled to its actual and/or

statutory damages and disgorgement of Defendant’s profits attributable to the infringement in an

amount to be proved at trial, together with all other relief allowed under the Copyright Act.

       64.     Because of Defendant’s willful infringement, Work Sharp is entitled to increased

damages pursuant to 17 U.S.C. § 504(c)(2).

       65.     Defendant’s infringement has caused and continues to cause irreparable harm to

Work Sharp, for which it has no adequate remedy at law. Unless this Court restrains Defendant

from infringing Work Sharp’s protected work, the harm will continue to occur in the future.

Accordingly, Work Sharp is entitled to a preliminary and permanent injunction.




COMPLAINT                                        19
        Case 1:22-cv-00650-MC          Document 1      Filed 05/04/22      Page 20 of 21




                                     PRAYER FOR RELIEF

       Wherefore, Work Sharp respectfully prays that the Court enter judgment in its favor and

award the following relief against Defendant:

       A.      A judgment in favor of Work Sharp that Defendant has infringed the Work Sharp

Copyrights;

       B.      A judgment in favor of Work Sharp that Defendant’s infringement of the Work

Sharp Copyrights has been willful;

       C.      A judgment in favor of Work Sharp that Work Sharp is entitled to its actual

damages and/or statutory damages and disgorgement of Defendant’s profits attributable to the

infringement of the Work Sharp Copyrights, in an amount to be proved at trial;

       D.      A judgment in favor of Work Sharp that Work Sharp is entitled to increased

damages pursuant to 17 U.S.C. § 504(c)(2) due to Defendant’s willful infringement;

       E.      An order and judgment enjoining Defendant and Defendant’s officers, directors,

employees, agents, licensees, representatives, affiliates, related companies, servants, successors

and assigns, and any and all persons acting in privity or in concert with any of them, from further

infringing the registered Work Sharp Copyrights;

       F.      Any other relief the Court deems just and proper under all the circumstances.


                                   Demand for Trial by Jury

       Work Sharp demands a jury trial on all matters triable to a jury.




COMPLAINT                                       20
     Case 1:22-cv-00650-MC      Document 1      Filed 05/04/22   Page 21 of 21




    DATED this 3rd day of May, 2022.

                                       Respectfully submitted,

                                       By: s/ Darrel R. Jarvis
                                       DARREL R. JARVIS (OSB No. 955013)
                                       djarvis@medfordlaw.net
                                       JARVIS, DREYER, GLATTE,
                                       LARSEN & BUNICK, LLP
                                       823 Alder Creek Drive
                                       Medford, Oregon 97504
                                       Telephone: (541) 772-1977
                                       Facsimile: (541) 772-3443


                                       TIMOTHY D. NICHOLS (pro hac vice
                                       forthcoming)
                                       tnichols@wnlaw.com
                                       BRIAN N. PLATT (pro hac vice forthcoming)
                                       bplatt@wnlaw.com
                                       WORKMAN | NYDEGGER
                                       60 East South Temple, Suite 1000
                                       Salt Lake City, Utah 84111
                                       Telephone: (801) 533-9800

                                       Counsel for Plaintiff Darex, LLC, dba Work Sharp




COMPLAINT                                21
